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HUEJBY **_[Ml
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT oF TENNESSEE 5 __ z
WESTERN DIVISION 5 JUL 5 AH 9 57

 

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FEDERAL EXPRESS CORP., N@é§;:§§lH@
Plaintiff,
v. No. 01-2503-MaP

ACCU SORT SYS'I‘EMS, INC. ,

Defendant.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is plaintiff’s June 29, 2005, unopposed
motion to file a sur-reply in further opposition to the
defendant's motion in limine to exclude certain testimony
regarding knowledge of calibration in the bar code scanning
industry. For good cause shown, the motion is granted and
plaintiff may file its sur~reply.

b
It is so ORDERED this 3 day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Ti'lis document entered on the doc et sheet In compliance
with Rule 58 and/or 79(a} FHCP on _ '

   

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David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Cynthia D Vreeland

WILMER CUTLER PICKERING HALE & DORR LLP
60 State St.

Boston, MA 02109

Anthony Volpe

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

.1 ohn .1 O'Malley

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Charles F. Morrow

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

.1. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Frank 1\/1. Holbrook

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

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Michael W. Higginbotham

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building 13.

1\/1emphis7 TN 38125--880

Michael R. Heyison

WILMER CUTLER PICKERING HALE & DOOR LLP
60 State St

Boston, MA 02109

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O.B0X171443

1\/1emphis7 TN 38187--144

.1 ohn G. Fabiano

WILMER CUTLER PICKERING HALE & DOOR LLP
60 Hale St

Boston, MA 02109

Cynthia .1. Collins

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building 13.
1\/1emphis7 TN 38125--880

Stephen R. Cochell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building 13.
1\/1emphis7 TN 38125--880

.1 ohn Patterson Brumbaugh
KING & SPALDING

191 Peachtree St. N.E.
Atlanta, GA 30303--176

.1 ohn R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

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Honorable Samuel Mays
US DISTRICT COURT

